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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                v.                              :     Case No. 21-cr-203 (JDB)
                                                :
ALEXANDER SHEPPARD,                             :
              Defendant.                        :


                     JOINT MOTION TO CONTINUE STATUS HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Alexander Sheppard, respectfully move this

Honorable Court to set a status hearing in approximately sixty days, with time excluded under the

Speedy Trial Act in the interests of justice.

       In support of this motion, the parties submit that:

        1.      The government’s review of the evidence in the case is ongoing.

        2.      The government has been providing discovery to the defense on a rolling basis.

        3.      The parties wish to engage in plea discussions.

        4.      The Pretrial Services Agency report filed on July 15, 2021, recommends no change

in conditions and reports no violations of the defendant’s conditions of release.

        5.      A continuance of approximately sixty days should allow discovery to proceed and

plea discussions to occur.

        6.      The parties are available for a status hearing September 20, 2021, after 11 am,

September 21, 2021, after 11 am, and any time on September 22, 23, or 24, 2021.

        7.      The parties agree that the interests of justice will be served by excluding time and

outweigh the defendant’s and the public’s interest in a speedy trial.

       WHEREFORE, the parties respectfully ask this Court to continue the status hearing to a
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date the week of September 20, 2021.



                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             ACTING UNITED STATES ATTORNEY

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